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AO 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                  Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                                 UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                       Southern District of Georgia
                                                                           Savannah Division

                          United States of America                                        )
                                           V.                                             )

                             Stacy Maurice Benton                                         ) Case No: 4:08-CR-00368-2
                                                                                          ) USMNo: 13910-021
Date of Original Judgment:         March 10, 2010                                         ) Thomas R. Bateski
Date of Previous Amended Judgment: N/A                                                    ) Defendant's Attorney
(Use Date of Last Amended Judgment. if any)


                                            Order Regarding Motion for Sentence Reduction Pursuant 10 18 U.S.C. § 3582(c)(2)


            Upon motion of                  the defendant              the Director of the Bureau of Prisons              the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IBI .10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
             issued) of 168    months is reduced to                       140 months


                                                     (Complete Parts / and 11 of Page 2 when motion is granted)
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Except as otherwise provided above, all provisions of the judgment dated March 10, 2010,                                   shall remain in effect.
IT IS SO ORDERED.

Order Date:
                                                                                                                 Judge's signa


                                                                                              William T. Moore, Jr.
                                                                                              Judge, U.S. District Court
Effective Date: November 1, 2015                                                              Southern District of Georgia
                           (fdifferenIfro,n order date)                                                        Printed tiante and title
